              Case 1:18-cv-02340-RJL Document 75 Filed 04/19/19 Page 1 of 5



                                   UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA et al.,

                    Plaintiffs,

v.                                                                 Case No. 1:18-cv-02340-RJL

CVS HEALTH CORPORATION et al.,

                    Defendants.


                       AMICI CURAIE CONSUMER ACTION and U.S. PIRG’S
                                      WITNESS LIST

           Amici Curiae Consumer Action and U.S. PIRG respectfully submit their witness list

pursuant to this Court’s April 8, 2019 Order (Dkt. 70). Amici Curiae propose to offer one

witness at a future hearing. Her name is Diana L. Moss. The following describes the bases of

her knowledge and expertise, describes the subject matter that will be covered by her testimony,

and provides an estimate of the duration of her direct testimony.

                                             Dr. Diana L. Moss, Ph.D.
                                             Knowledge and Expertise
           Diana Moss is the President of the American Antitrust Institute (“AAI”).1 She has been

the president of AAI since January 2015. AAI is an independent, nonprofit organization devoted

to promoting competition that protects consumers, businesses, and society. The AAI serves the

public through research, education, and advocacy on the benefits of competition and the use of

antitrust enforcement as a vital component of national and international competition policy.




1
    Dr. Moss’s curriculum vitae is attached as Exhibit 1.

                                                            1
           Case 1:18-cv-02340-RJL Document 75 Filed 04/19/19 Page 2 of 5



        As an economist, Dr. Moss has developed and expanded AAI’s advocacy channels and

strategies, and strengthened communications with enforcers, Congress, other advocacy groups,

and the media. Her work spans both antitrust and regulation, with industry expertise in

electricity, petroleum, agriculture, airlines, telecommunications, and healthcare. Before joining

AAI in 2001, Dr. Moss was at the Federal Energy Regulatory Commission, where she

coordinated the agency’s competition analysis for electricity mergers. From 1989 to 1994, she

consulted in private practice in the areas of regulation and antitrust. Dr. Moss has spoken widely

on various topics involving competition policy and enforcement, testified before Congress,

appeared before state and federal regulatory commissions, and made numerous radio and

television appearances. She has published articles in a number of economic and legal academic

journals, including: American Economic Review, Journal of Industrial Organization, the Energy

Law Journal, and the Antitrust Bulletin. She is editor of Network Access, Regulation and

Antitrust (2005). Dr. Moss has written about merger remedies and wrote a letter to the

Department of Justice’s Antitrust Division regarding the vertical competitive concerns raised by

the CVS/Aetna merger.2

        Dr. Moss is Adjunct Faculty in the Department of Economics at the University of

Colorado at Boulder. She holds a M.A. degree from the University of Denver and a Ph.D. from

the Colorado School of Mines.

                                          Proposed Testimony

        Based on publicly available information as well as her knowledge and experience, Dr.

Moss will testify how the proposed final judgement (“PFJ”) raises concerns about whether the



2
 Letter from Diana Moss, President of American Antitrust Institute to the Department of Justice, Regarding
Competitive and Consumer Concerns Raised by the CVS-Aetna Merger dated March 26, 2018. Attached as Exhibit
2.

                                                    2
          Case 1:18-cv-02340-RJL Document 75 Filed 04/19/19 Page 3 of 5



proposed divestiture package to WellCare Health Plans, Inc. (“WellCare”) would be an effective

remedy in fully restoring competition lost by the elimination of head-to-head competition

between CVS Health Corporation (“CVS Health”) and Aetna Inc. (“Aetna”) in the sale of

Medicare Part D prescription drug plans (“PDPs”). Dr. Moss will also testify how the merger of

CVS and Aetna restructures healthcare markets to the detriment of competition and consumers.

The CVS-Aetna merger combines the largest retail pharmacy chain and one of the two largest

PBMs with the third largest health insurer in the United States. The merger raises a number of

questions for competition and consumers.

       Dr. Moss will testify to the merger’s potential to enhance the incentive of CVS-Aetna to

exclude rivals and facilitate anticompetitive coordination among health insurers served by PBM

CVS-Caremark. CVS and Aetna already wield significant market power in the retail pharmacy,

PBM, and health insurance markets. High concentration in these markets exacerbates

competitive concerns. Market idiosyncrasies heighten the merger’s potentially anticompetitive

effects. These include the role of health insurers in paying for most prescriptions filled and of

PBMs in managing the flow of prescription drugs to millions of Americans, and PBM markets

that lack important transparency. The three large integrated PBM-insurer systems (i.e., CVS-

Aetna, Express Scripts-Cigna, and Optum Rx-United Healthcare) dominate the markets and have

weak, if any, incentives to compete. This stands in stark contrast to the competition that is

fostered by standalone rivals. Dr. Moss will testify that there is little evidence that past vertical

acquisitions by CVS, including its acquisition of Caremark, have resulted in significant benefits

and have even harmed consumers and independent pharmacies.

       Moreover, because the merger solidifies that the three largest PBMs are all vertically

integrated, entry barriers increase dramatically, scalable only by those players who could enter



                                                  3
          Case 1:18-cv-02340-RJL Document 75 Filed 04/19/19 Page 4 of 5



and compete effectively at two levels – PBM and health insurance. This effectively locks out

competition by standalone PBMs, insurers, and other market participants – competition that is

needed to foster innovation, to protect the stability of the healthcare supply chain, and promote

the welfare of the U.S. consumer.

       The anticompetitive effects presented by the merger would be detrimental to consumers

through potentially higher prices, lower quality, less choice, and less innovation in markets for

prescription drugs and health insurance. In healthcare, these effects can make the difference

between wellness or disease, and life or death.

       Dr. Moss will testify that vertical considerations bear directly on the likely effectiveness

of the divestiture remedy in the relevant markets for the sale of PDPs that are alleged in the

complaint. The merger raises the threat of input foreclosure directed at Aetna’s health insurance

rivals, who are or may become Part D plan sponsors. But the divestiture does not adequately

address concerns about potential foreclosure of WellCare and other Part D sponsors post-merger,

which would have the effect of insulating the merged company from hard competition in

individual PDP markets, to the detriment of competition and consumers.

       In light of all of this, Dr. Moss will testify that the PFJ is not in the public interest.

                                Approximate Length of Testimony

One hour of direct examination.




                                                   4
          Case 1:18-cv-02340-RJL Document 75 Filed 04/19/19 Page 5 of 5




                                           Conclusion
       Amici Curiae appreciate that this Court has taken seriously its responsibility to conduct a

thorough review of the PFJ to determine whether it is in the public interest and fully restores

competition for millions of patients. Dr. Moss’s testimony at a hearing would help fully develop

the record regarding the potential areas of failure in the PFJ before the Court makes its decision

on whether the PFJ adequately resolves the competitive harm raised by the merger.

Dated: April 19, 2019
                                      Respectfully submitted,


                                      /s/ David Balto
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